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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BRENDA RICE-DAVIS                                     )
                                                      )
       Plaintiff,                                     )
       v.                                             )     No: 15-cv-06348
                                                      )
LAKISHA BANNISTER and                                 ) Judge Sharon Johnson Coleman
HOUSING AUTHORITY OF COOK COUNTY                      )
                                                      ) Magistrate Susan E. Cox
        Defendants.                                   )

            MOTION FOR RECONSIDERATION OF MOTION TO REMAND

       Plaintiff, BRENDA RICE-DAVIS, by her attorney, Stephen Stern moves that this Court

enter an order remanding the case back to the Circuit Court of Cook County Illinois for lack of

federal question jurisdiction and award costs and attorneys fees pursuant to 28 U.S.C. § 1447 (c).

In support of this Motion Plaintiff states:

        1. On June 22, 2015 Plaintiff filed a Complaint against the Defendants LAKISHA
BANNISTER (hereinafter “Bannister”) and the HOUSING AUTHORITY OF COOK COUNTY
(hereinafter “HACC”) in the Circuit Court of Cook County Illinois, a copy of which is attached
hereto as Exhibit A.

        2. As detailed more fully in the attached Complaint and Plaintiff’s summary of it in the
MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR RECONSIDERATION OF
MOTION TO REMAND AND FOR AWARD OF COSTS AND ATTRONEYS FEES
 (hereinafter referred to as “Memorandum of Law”) submitted in conjunction with this Motion,
the Complaint only alleged violations of a state statute and a common law claim of negligence.

       3 After being served the Plaintiff’s Complaint the Defendants filed with this Court a
NOTICE OF REMOVAL (hereinafter referred to as “Notice”) and in the Notice the Defendants
alleged in relevant part that “The subject Complaint is brought under the Voting Rights Act of
1965 § 2 et. seq., 42 U.S.C.A.§ 1973 et. seq.

       4. After being served with the Notice Plaintiff filed pro se a Motion to Remand the case
back to State Court.

       5. On September 11, 20115 this Court entered an order providing that Plaintiff’s Motion
to Remand was denied without prejudice, given that the facts that would support remand and/ or
this Court’s Jurisdiction are at issue.

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        6. Plaintiff’s pro se Motion to Remand failed to attach the Complaint at issue and point
out the relevant allegations contained in the Complaint as well as cite to precedent from this
Circuit detailing the requirements and burdens related to remanding a case back to state court
pursuant to28 U.S.C. § 1447 (c).

       7. Plaintiff’s pro se Motion to Remand also failed to point out the relevant statutory
language and legislative history detailing what types of claims are viable under the Voting Rights
Act, which Defendants claimed was the basis for Plaintiff’s Complaint filed in State Court..

       8. These omissions are now addressed in this Motion and in the Memorandum of Law
submitted in conjunction with this Motion..

        9. Based upon the Court’s September 11, 2015 Order and the provision in 28 U.S.C. §
1447 (c) that the court may at any time before final judgment remand a case to state court if it
finds that it lack subject matter jurisdiction and may award attorneys fees and costs “incurred as
a result of the removal”, this motion is proper.

       10. It is clear that Complaint filed in State Court by Plaintiff cannot plausibly be
construed as raising a claim under the Voting Rights Act of 1965.

       WHEREFORE, Plaintiff respectfully requests that this Court enter and order remanding

this case to the Circuit Court of Cook County Illinois for lack of federal question jurisdiction and

enter a finding that removal was improper. Plaintiff also requests that the Court grant an award

of costs and attorney’s fees to Plaintiff as well as any other relief the Court deems appropriate



                                              Respectfully submitted,

                                              By_/s/ Stephen Stern
                                              Plaintiff’s Attorney



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